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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA

                         CASE NO: 21-CV-22863-MOORE

   JUDITH ANNE HAYES, individually and on behalf of W.H., a minor,
   ROBYN MCCARTHY and JOHN MCCARTHY, individually
   and on behalf of L.M., a minor, AMANDA BANEK, individually
   and on behalf of D.B. and B.B, minor children, KAS ARONEMILLER,
   individually and on behalf of R.M. and L.M.,
   Minor children, ALISHA TODD, individually and on behalf
   of J.T, a minor, JAMIE KINDER, individually and on
   behalf of R.K., a minor, CHRIS RODRIGUEZ, individually
   and on behalf of J.D.-F., a minor, JACK KOCH, individually
   and on behalf of R.K, B.K., and A.K., minor children,
   KRISTEN THOMPSON, individually and on behalf of P.T., a
   minor, EREN DOOLEY, individually and on behalf of G.D.,
   a minor, TOM COLLINS, individually and on behalf of Q.C., a minor,

         Plaintiffs,

   v.

   GOVERNOR RONALD DION DESANTIS, in his official
   Capacity as Governor of the State of Florida; FLORIDA
   DEPARTMENT OF EDUCATION, RICHARD CORCORAN,
   in his official capacity as Commissioner of the Florida Department
   of Education, ORANGE COUNTY SCHOOL BOARD, MIAMI
   DADE COUNTY SCHOOL BOARD, HILLSBOROUGH
   COUNTY SCHOOL BOARD, PALM BEACH SCHOOL BOARD,
   BROWARD COUNTY SCHOOL BOARD, PASCO COUNTY
   SCHOOL BOARD, ALACHUA COUNTY SCHOOL BOARD and
   VOLUSIA COUNTY SCHOOL BOARD,

        Defendants.
   _____________________________________________________________/

           DEFENDANT SCHOOL BOARD OF ALACHUA COUNTY’S
            MOTION TO DISMISS PLAINTIFFS’ COMPLAINT AND
                INCORPORATED MEMORANDUM OF LAW
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          Defendant School Board of Alachua County (“Alachua School Board”),

   through undersigned counsel and per Federal Rule of Civil Procedure 12(b)(2) and

   12(b)(3), and pursuant to Local Rule 7.1 of the United States District Court for the

   Southern District of Florida, moves to dismiss Plaintiffs’ Complaint with prejudice and

   states the following:

                                       BACKGROUND

   1.     On August 6, 2021, Plaintiffs, Judith Anne Hayes, individually and on behalf of

   W.H., a minor, et. al., filed their Complaint and Motion for Preliminary Injunction

   against Defendants, Governor Ronald Dion DeSantis, in his official capacity as

   Governor of the State of Florida, et. al. Doc. 1, Doc. 3. On August 10, 2021, Plaintiffs

   filed their Amended Motion for Preliminary Injunction. Doc. 17.

   2.     Governor DeSantis issued an Executive Order 21-175 on July 30, 2021 titled

   “Ensuring Parents Freedom to Choose – Masks in School” “in response to several

   Florida school boards considering or implementing mask mandates in their school

   districts.” Doc. 1 at ¶ 42; Doc. 17 at p.2. From this Executive Order, Plaintiffs state

   that “[a]s a penalty for non-compliance, Governor DeSantis directed his Commissioner

   of Education to withhold state fund from non-compliant school boards….” Doc. 1 at ¶

   44. Plaintiffs also allege that the Governor “does not have the authority to threaten

   school districts with loss of funding if they protect their students with disabilities health




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   and rights…By doing so, he is violating the Americans with Disabilities Act and

   Rehabilitation Act.” Id. at ¶ 44

   3.    Among other allegations regarding disabled students’ inability to receive a

   proper education, Plaintiffs allege that “[s]tudents with disabilities who are unable to

   safely return to brick-and-mortar schools because of continued health concerns, are

   being excluded from the public school system.” Id. at ¶ 50.

   4.    Plaintiffs further allege that “[b]y refusing to allow school districts to implement

   mask mandates, Governor DeSantis has placed an illegal barrier for students with

   disabilities which is preventing our state’s most vulnerable students from returning to

   public schools.” Id. at ¶ 51.

   5.    Plaintiffs believe that “the Governor and the State are forcing children out of the

   public school system[,]” and parents are being “put into an impossible situation of

   having to choose between the health and life of their child and returning to school.” Id.

   at ¶¶ 53-54.

   6.    Plaintiff P.T. is the only named Plaintiff who resides in Alachua County. No

   other plaintiff has brought a claim against Alachua County nor is entitled to relief from

   the Alachua School Board.

   7.    Plaintiff P.T. remains enrolled in Alachua County Schools and has been

   attending school for this current 2021-22 school year. Plaintiff P.T. attends an Alachua

   County public school. Id. at ¶ 146.


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   8.      Plaintiff P.T. and Plaintiff’s mother, Kristen Thompson, both reside in Alachua

   County, Florida. Id. at ¶¶ 22-23.

   9.      Plaintiffs improperly sued the Alachua School Board, sued in the improper

   venue, and the Alachua School Board remains entitled to the home venue privilege.

   10.     In Plaintiffs’ Complaint (and Amended Motion for Preliminary Injunction),

   Plaintiffs’ relief is not sought from the Alachua School Board and takes issue with the

   Governor’s “executive order conflict[ing] with the school districts obligations under

   the Individuals with Disabilities’ Education Act, the Americans with Disabilities Act,

   and Section 504 of the Rehabilitation Act…” Id. at ¶ 49. Plaintiffs request for relief

   sought in their Complaint is that they “request that this court find that such [executive]

   order violates 28 C.F.R. § 35.130(b)(3)….and that Governor DeSantis does not have

   the authority to interfere with these children’s rights…” Id.

   11.     In Plaintiffs’ Complaint, they specifically note that the Alachua School Board

   is “not an adverse party.” Id. at ¶ 37.

   12.     The School Board of Alachua County enacted a mask mandate on August 3,

   2021,    effective   for   two   weeks. See      SBAC Minutes         8/3/21   at   p.2-3

   https://drive.google.com/file/d/1mHOhOo0I2Bgv9mU9CsSMNlt2IqcDQwHX/view.

   13.     At the August 17, 2021 School Board of Alachua County meeting, the Alachua

   School Board extended the mask mandate in all schools for another eight weeks. See




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   Alachua County Public Schools Fall 2021 COVID-19 Response Plan at p. 8

   https://fl02219191.schoolwires.net/Page/30119.

   14.        For the reasons above and argued below, Plaintiffs’ claims against the Alachua

   School Board should be dismissed.


      MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT ALACHUA
              SCHOOL BOARD’S MOTION TO DISMISS

              THE PLAINTIFFS FILED IN AN IMPROPER VENUE AGAINST
              ALACHUA COUNTY

         i.      This Court does not have jurisdiction in this case over the Alachua School
                 Board and the Southern District is an improper venue.

              Plaintiffs improperly filed their Complaint in the Southern District Court, which

   is an improper venue for the Alachua School Board for a number of reasons. The first

   being that the substantial events involving Plaintiff P.T. and their mother, Kristen

   Thompson (who are both Alachua County residents), occurs and continues to occur

   where the Plaintiff P.T. resides and attends school, in Alachua County, Florida. (Doc.

   1 at ¶¶ 22-23, 146). Secondly, the Southern District is an inconvenient forum for the

   Alachua School Board as a Defendant given that its principal, and only, place of

   operation is in Alachua County, Florida – which is a part of the Northern District of

   Florida Court.

              In order for the Court to determine if venue is proper in the current District

   Court, the Court must conduct a two-part inquiry test. First, “[t]he Court will first


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   consider what alleged acts by the Defendants “gave rise” to Plaintiff's claim.” NuTek

   Int'l, Inc. v. Moxley-W., 3:13-CV-494-J-34PDB, 2014 WL 12623811, at *4 (M.D. Fla.

   Mar. 26, 2014). “Next, the Court will consider whether a “substantial part” of those

   acts took place in this District.” Id. “[T]he court should determine whether a substantial

   part of those acts or omissions occurred in the district where suit was filed, that is,

   whether ‘significant events or omissions material to [those] claim[s] ... have occurred

   in the district in question.” Id. “If venue is improper, the district court “shall dismiss,

   or if it be in the interest of justice, transfer such case to any district or division in which

   it could have been brought.” 28 U.S.C. § 1406(a).” Mobile Diagnostic Imaging, Inc. v.

   Gormezano, 12-60888-CIV, 2012 WL 3244664, at *2 (S.D. Fla. Aug. 9, 2012). Under

   28 U.S.C. § 1391(b)(2), “venue is proper in “a judicial district in which a substantial

   part of the events or omissions giving rise to the claim occurred ...”” Id. (quoting 28

   U.S.C. § 1391(b)(2)). “Courts have also held that substantial events occurred within a

   venue when harm or injury was suffered in that venue.” Id. (internal citations omitted).

          [C]ourts give less deference to a Plaintiff's chosen forum “where the
          operative facts underlying the cause of action did not occur within the
          forum chosen by the Plaintiff[.]” Osgood v. Discount Auto Parts, LLC,
          981 F. Supp. 2d 1259, 1267 (S.D. Fla. 2013) (citing Windmere Corp., 617
          F. Supp. at 10 (S.D. Fla. 1985) ); Balloveras v. Purdue Pharma Co., 04-
          20360, 2004 WL 1202854, at *1 (S.D. Fla. 2004); Amazon.com v.
          Cendant Corp., 404 F. Supp. 2d 1256, 1260 (W.D. Wash. 2005);
          Hernandez v. Graebel Van Lines, 761 F. Supp. 983, 987 (E.D.N.Y. 1991)
          (“[W]here the transactions or facts giving rise to the action have no
          material relation or significant connection to the plaintiff's chosen forum,
          then the plaintiff's choice is not accorded the same ‘great weight’ and is
          in fact given reduced significance”).
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         MSPA Claims 1, LLC v. Halifax Health, Inc., 17-20706-CIV, 2017 WL
         7803813, at *3 (S.D. Fla. Oct. 13, 2017); see also Hight v. United States
         Dep't of Homeland Sec., 391 F. Supp. 3d 1178, 1185 (S.D. Fla. 2019).


   In MSPA, the Court found that “the operative facts underlying the majority of Plaintiffs

   claims occurred in the Middle District of Florida. For that reason alone the Court finds

   that Plaintiff's choice of forum is entitled to “less than normal deference.”” Id. (citing

   Balloveras v. Purdue Pharma Co., No. 04–20360–CIV–MORENO, 2004 WL

   1202854, at *1 (S.D. Fla. 2004)); see also Hight, 391 F. Supp. 3d at 1185 (“Plaintiff's

   only nexus to the Southern District of Florida is his residence—while all the relevant

   licensing decisions were made in the District of Columbia by residents of the District

   of Columbia. Moreover, the licensing in question relates to Plaintiff's work as a pilot

   on Lake Ontario and the St. Lawrence Seaway…The scales are further tilted in favor

   of transfer given the locus of operative facts for Plaintiff's claims.”). “[A] court must

   focus its analysis on the activities of the defendant which give rise to the claim, not

   those of the plaintiff.” NuTek Int'l, Inc. v. Moxley-W., 3:13-CV-494-J-34PDB, 2014

   WL 12623811, at *4 (M.D. Fla. Mar. 26, 2014). “[I]n accordance with Eleventh Circuit

   precedent, the Court must focus its venue analysis not on all aspects of the relationships

   between the parties, but on the location of the acts and omissions giving rise to the

   claims asserted, those actions with a close nexus to the wrong.” Id. Furthermore,

         [t]he general rule in suits against public officials is that a defendant's
         residence for venue purpose is the district where he performs his official
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         duties. 1 Moore's Federal Practice P 0.142(5.-1-2), at 1396 (2d ed. 1979).
         See, e. g., Butterworth v. Hill, 114 U.S. 128, 132, 5 S.Ct. 796, 798, 29
         L.Ed. 119 (1885); O'Neill v. Battisti, 472 F.2d 789, 791 (6th Cir. 1972),
         cert. denied sub nom. Heitzler v. O'Neill, 411 U.S. 964, 93 S.Ct. 2142, 36
         L.Ed.2d 685 (1973). A number of the cases applying this principle have
         involved federal officials or agencies and have found only one official
         residence. See, e. g., Ernst v. Secretary of the Interior, 244 F.2d 344, 17
         Alaska 133 (9th Cir. 1957); Trueman Fertilizer Co. v. Larson, 196 F.2d
         910 (5th Cir. 1952); Hartke v. Federal Aviation Administration, 369
         F.Supp. 741 (E.D.N.Y.1973).

         Florida Nursing Home Ass'n v. Page, 616 F.2d 1355, 1360 (5th Cir.
         1980), rev’d on other grounds by Florida Dept. of Health & Rehab.
         Services v. Florida Nursing Home Ass'n, 450 U.S. 147 (1981).

   This Court has addressed similar issues previously and held that “[a] central purpose

   of the federal venue statute is to ensure that a defendant is not hailed into a remote

   district having no real relationship to the dispute.” Hemispherx Biopharma, Inc. v.

   MidSouth Capital, Inc., 669 F. Supp. 2d 1353, 1357 (S.D. Fla. 2009) (internal citation

   omitted). Here, the alleged potential “harm or injury” or “substantial events” with

   respect to Plaintiff P.T., and their mother Kristen Thompson (the only plaintiffs

   relating to Alachua County), per Plaintiffs’ own allegations, all occurred or is going to

   occur in Alachua County, Florida. Moreover, the Alachua School Board’s only

   “official residence” and place where the School Board performs its “official duties” is

   in Alachua County, Florida – part of the Northern District of Florida Court.

         As stated above, another reason why the Alachua School Board is entitled to

   dismissal is based on the fact that this Court is inconvenient to witnesses and the

   Alachua School Board as a Defendant. By the time of this filing, the Alachua County
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   Public Schools will only be in its fourth week of school in what has already been a

   hectic and demanding school year. All staff and district personnel are all hands-on deck

   to assist with students and teachers returning in person to schools. 28 U.S.C. § 1404(a)

   provides that “[f]or the convenience of parties and witnesses, in the interest of justice,

   a district court may transfer any civil action to any other district or division where it

   might have been brought or to any district or division to which all parties have

   consented.” 28 U.S.C. § 1404.

         A federal court has discretion to dismiss a case on the ground of forum
         non conveniens “when an alternative forum has jurisdiction to hear [the]
         case, and ... trial in the chosen forum would establish ... oppressiveness
         and vexation to a defendant ... out of all proportion to plaintiff's
         convenience, or ... the chosen forum [is] inappropriate because of
         considerations affecting the court's own administrative and legal
         problems.”

         Sinochem Intern. Co. Ltd. v. Malaysia Intern. Shipping Corp., 549 U.S. 422,
         429 (2007) (quoting American Dredging Co. v. Miller, 510 U.S. 443, 447–448,
         114 S.Ct. 981, 127 L.Ed.2d 285 (1994)).

   “Dismissal for forum non conveniens reflects a court's assessment of a “range of

   considerations, most notably the convenience to the parties and the practical difficulties

   that can attend the adjudication of a dispute in a certain locality.”” Id. (quoting

   Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 723, 116 S.Ct. 1712, 135 L.Ed.2d 1

   (1996)). The Supreme Court noted in Sinochem that they “have characterized forum

   non conveniens as, essentially, “a supervening venue provision, permitting

   displacement of the ordinary rules of venue when, in light of certain conditions, the


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   trial court thinks that jurisdiction ought to be declined.”” Id. at 429-430 (2007) (quoting

   American Dredging, 510 U.S., at 453, 114 S.Ct. 981). While,

         [a] defendant invoking forum non conveniens ordinarily bears a heavy
         burden in opposing the plaintiff's chosen forum. When the plaintiff's
         choice is not its home forum, however, the presumption in the plaintiff's
         favor “applies with less force,” for the assumption that the chosen forum
         is appropriate is in such cases “less reasonable.”

         Id. at 430 (quoting Piper Aircraft Co., 454 U.S., at 255–256, 102 S.Ct.
         252).

   “To determine whether a case should be transferred pursuant to section 1404,

   courts apply a two-prong test.” Hight, 391 F. Supp. 3d at 1183.

         Courts embark on a two-prong inquiry when considering the several
         factors used to determine whether to transfer venue.” Steifel Labs., Inc. v.
         Galderma Labs, Inc., 588 F. Supp. 2d 1336, 1338 (S.D. Fla. 2008). “First,
         the alternative venue must be one in which the action could originally
         have been brought by the plaintiff.” Id. (citing 28 U.S.C. § 1404(a);
         Mason V. Smithkline Beecham Clinical Labs., 146 F. Supp. 2d 1355,
         1359 (S.D. Fla. 2001) ). “Second, courts are to balance private and public
         factors to determine if transfer is justified.” Id. (citing Mason, 146 F.
         Supp. 2d at 1359). “Section 1404 factors include (1) the convenience of
         the witnesses; (2) the location of relevant documents and the relative ease
         of access to sources of proof; (3) the convenience of the parties; (4) the
         locus of operative facts; (5) the availability of process to compel the
         attendance of unwilling witnesses; (6) the relative means of the parties;
         (7) a forum's familiarity with the governing law; (8) the weight accorded
         a plaintiff's choice of forum; and (9) trial efficiency and the interests of
         justice, based on the totality of the circumstances.” Manuel v. Convergys
         Corp., 430 F.3d 1132, 1135 n.1 (11th Cir. 2005).”

         MSPA Claims 1, 17-20706-CIV, 2017 WL 7803813, at *1; see also
         Hight, 391 F. Supp. 3d at 1183.




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            Plaintiffs admit that Plaintiff P.T. resides in Alachua County. (Doc. 1 at ¶ 23).

   Plaintiff’s mother, Kristen Thompson, resides in Alachua County. (Id. at ¶ 22). Plaintiff

   admits that Plaintiff P.T. attends school in Alachua County public schools. (Id. at ¶

   146). And, Plaintiff admits that Plaintiff P.T.’s parents are deciding whether to

   continue to enroll Plaintiff P.T. in Alachua County public schools, thereby showing

   that the entire events and circumstances surrounding any possible allegations against

   the Alachua School Board took place and/or are taking place in Alachua County,

   Florida. (Id. at ¶ 149).

      ii.      Alachua School Board is entitled to the Home Venue Privilege

            Under Florida law, the “home venue privilege provides that, absent waiver or

   exception, venue in a suit against the State, or an agency or subdivision of the State, is

   proper only in the county in which the State, or the agency or subdivision of the State,

   maintains its principal headquarters.” Florida Dept. of Children & Families v. Sun-

   Sentinel, Inc., 865 So. 2d 1278, 1286 (Fla. 2004). “Absent waiver or application of an

   identified exception, the home venue privilege appears to be an absolute right.” Bush

   v. State, 945 So. 2d 1207, 1212 (Fla. 2006) (quoting Jacksonville Elec. Auth. v. Clay

   County Util. Auth., 802 So.2d 1190, 1192 (Fla. 1st DCA 2002)). Courts have

   recognized three exceptions to the home venue privilege: (1) where the Legislature has

   by statute waived the privilege; (2) the sword wielder exception; (3) where the

   governmental defendant is sued as a joint tortfeasor. Florida Dept. of Children &


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   Families, 865 So. 2d at 1287–88. “The second exception, known as the “sword

   wielder” exception, “applies only where direct judicial protection is sought from an

   unlawful invasion of a constitutional right of the plaintiff, directly threatened in the

   county where the suit is instituted.”” Id. at 1288 (quoting Fla. Pub. Serv. Comm'n v.

   Triple “A” Enters., Inc., 387 So.2d 940, 942 (Fla.1980)). Here, there has been no

   waiver by the Alachua School Board of its home venue privilege, the sword wielder

   exception does not apply as the only plaintiff relating to the Alachua School Board is

   an Alachua County resident (part of the Northern District, not Southern), and the

   Alachua School Board has not been sued as a joint tortfeasor.

         Defendant enjoys a common law “home venue privilege” entitling it to
         litigate in the county where it maintains its principal headquarters—i.e.,
         Volusia County. See Boca Raton Hous. Auth. v. Carousel Dev., Inc., 482
         So. 2d 543, 544 (Fla. Dist. Ct. App. 1986) (“The home venue rule
         provides that actions against municipal corporations are inherently local
         and that, in the absence of statutory provisions to the contrary, venue of
         such actions is in the county where the municipalities are located.”).

         MSPA Claims 1, 17-20706-CIV, 2017 WL 7803813, at *4.

   The Court found in MSPA that the Defendant's “home venue privilege” weighed

   heavily in favor of transferring the case to the Middle District of Florida where it

   maintained its principal headquarters. Id. at *5. For the Alachua School Board, its only

   place of business and “headquarters” is located in Alachua County, Florida. It does not

   operate any business or take any actions in the Southern District of Florida and

   therefore is entitled to its home venue privilege in the Northern District of Florida.


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                                      III. CONCLUSION

          Based on the foregoing, Defendant, School Board of Alachua County should be

   dismissed for lack of jurisdiction, home venue privilege, and on the basis of forum non

   conviens. Without waiving its argument regarding jurisdiction and venue, Defendant

   School Board of Alachua County reserves all other legal arguments and defenses for a

   later date, including but not limited to (1) failure to state a cause of action (2) failure to

   exhaust administrative and legal remedies, (3) failure to mitigate damages, (4)

   Plaintiffs’ claims against the Defendant School Board of Alachua County are moot due

   to the Defendant School Board of Alachua County’s actions regarding masks, and (5)

   any and all other arguments available to Defendant School Board of Alachua County.

          Wherefore, Defendant School Board of Alachua County respectfully requests

   that this Honorable Court order the following relief:

          (a)    dismiss the claims against Defendant School Board of Alachua County;

          (b)    transfer any claims against Defendant School Board of Alachua County

   to the Northern District, Gainesville Division; and

          (c)    any other relief this Court deems appropriate.




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   Dated: September 3, 2021.

                                               Respectfully submitted,

                                               DELL GRAHAM, P.A.

                                               /s/ Natasha S. Mickens
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                                               Alachua County




                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 3rd day of September, 2021, a true and
   correct copy of the foregoing was served via the Court’s CM/ECF system all counsel
   of record.


                                               DELL GRAHAM, P.A.

                                               /s/ Natasha S. Mickens
                                               David M. Delaney

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